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Patient Care Ombudsman

UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS
BOSTON DIVISION
------------------------------------------------------------X
In re:

Compass Medical PC                                              Chapter 7
                                                                Case No. 23-10886 (CJP)

Debtor.

------------------------------------------------------------X

                                  INTERIM REPORT OF
                                   JOSEPH J. TOMAINO
                             AS PATIENT CARE OMBUDSMAN


          I, Joseph J. Tomaino, the duly appointed Patient Care Ombudsman (the “PCO”)
 appointed by the United States Trustee pursuant to an order of the United States Bankruptcy
 Court for the District of Massachusetts, Boston Division (the “Bankruptcy Court”) entered in
 the above-captioned bankruptcy case, file this fourth report pursuant to section 333(b)(2) of
 title 11, United States Code (the “Bankruptcy Code”). This case involves Compass Medical P.C.,
 (the “Debtor”), a multi-site medical practice.

         On February 15, 2024, the Court issued an order (Doc. 238, Order Authorizing Disposal
 and Destruction of Business and Medical Records) stating that on or before 30 days from
 signing the order, Steward Medical Group (SMG) shall take possession of all medical records
 of Compass Medical Group, including those of patients who were not patients of SMG under
 the previous joint venture with Compass Medical Group.

         SMG provided the Trustee with email and fax numbers to provide patients so they can
 request their medical records. The Trustee shared those contact details with the PCO who has
 provided them to patients upon request. These patients are reporting back that there continues
 to be no responses to inquiries at those contacts. Some patients have made contact by calling
 other SMG numbers and have been redirected to multiple numbers, only to be given the number
 of the PCO to contact.
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            Counsel for PCO has made multiple attempts to connect with Counsel for SMG without
    success. The PCO has had several calls with the Trustee and his Counsel, as well as Assistant
    Attorney General. The PCO made complaints on behalf of the former Compass patients to both
    the Massachusetts Department of Public Health and the United States Office of Civil Rights.
    As of Friday, April 12, 2024, the PCO continued to receive calls from former Compass patients
    that the issue persists.

                                            Risk Assessment

         When evaluating a healthcare business in bankruptcy, based on the initial assessment of
the PCO, the Debtor is categorized into a low, medium, or high-risk level based on data collected
and interviews with management, patients, and staff. This initial determination of the level of risk
may be adjusted as findings either improve or deteriorate. These levels are outlined below:

•     Low-level risk evidenced by transparent reporting, and no observable staffing, supply or
      quality of care issues that are not readily resolved.

•     Mid-level risk evidenced by transparent reporting with some significant observable staffing,
      supply, or quality issues, or lack of transparent reporting.

•     High-level risk evidenced by significant staffing, supply, or quality issues observed, or risk of
      partial or full closing of services.

Healthcare debtors can move between levels of risk over the course of bankruptcy.

Based on the observations made and outlined in this report, the current risk level for this
case continues to be at high level based on the lack of responsiveness by Steward Medical
Group to patient requests for their records.


                                           Monitoring Plan

       The PCO will continue to pursue the information requested and will continue to
communicate with patients who call. The PCO will monitor the noticing of patients on the
arrangement for obtaining their medical records from the permanent custodian, Steward Medical
Group. The PCO will report to the Court and participate in any related status conferences.

        Consistent with requirements outlined in Bankruptcy Rule 2015.1-1, notice of this report
will be served on each entity that issues licenses or regulates the Debtor.

       The Ombudsman will make his next report in sixty (60) days or sooner, if circumstances
warrant.



Dated: April 15, 2024
Manhattan, New York
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                                   JOSEPH J. TOMAINO, SOLELY IN HIS
                                   CAPACITY AS THE COURT APPOINTED
                                   PATIENT CARE OMBUDSMAN

                                   _/s/ Joseph J. Tomaino___
                                   JOSEPH J. TOMAINO
